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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,
an individual,

         Plaintiff,

v.                                                            Case No. 1:20-CV-00237-KK-SCY

MEOW WOLF, INC., a Delaware
corporation; VINCE KADLUBEK,
an individual and officer; and
DOES 1-50,

         Defendants.


  PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION FOR REFERRAL OF
 REGISTRATION QUESTIONS UNDER 17 U.S.C. §411(B)(2) TO THE REGISTER OF
                            COPYRIGHTS

         Plaintiff, Lauren Adele Oliver (“Plaintiff” or “Oliver”), through her undersigned counsel,

hereby submits her Opposition to Defendants’ Motion For Referral of Registration Questions

Under 17 U.S.C. §411(b)(2) to the Register of Copyrights (“Motion”). See Dkt. No. 236.

I.       INTRODUCTION

         A 10th Circuit court recently warned that a motion under 17 U.S.C. §411(b)(2) is a

mechanism for “abuse because it allows infringers to delay proceedings by simply alleging

technical violations of the underlying copyright registrations.” Energy Intelligence Group, Inc.

v. CHS McPherson Refinery, Inc., 304 F. Supp. 3d 1051, 1055 (D. Kan. 2018). Defendants’

Motion is exactly that, but they take it a step further. Indeed, it is Defendants’ Motion – not

Plaintiff’s copyright application – that is filled with misstatements and outright untruths. Further,

Defendants do not cite to a single case from the 10th Circuit, much less the Energy Intelligence

case.



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       After a complete review of both the relevant facts surrounding Plaintiff’s copyright

application and 10th Circuit case law, it is evident that the Court must deny Defendants’ Motion.

A review of the facts reveals that Plaintiff communicated with the Copyright Office throughout

the course of the application process and was forthcoming regarding all dates and events.

Likewise, a review of the 10th Circuit case law reveals that there are in fact two prongs to the test

under 17 U.S.C. §411(b)(2): (1) a misstatement of fact in the application and (2) that the

misrepresentation was knowingly included on the application. Energy Intelligence Group, 304

F.Supp. 3d at 1055-1056. Plaintiff did not provide false information to the Copyright Office.

However, even if the Court decides there may have been a discrepancy within an application, it

certainly does not rise to level of intent required for the Court to grant Defendants’ Motion. The

Court should deny the Motion in its entirety.

II.    LEGAL STANDARD

       Pursuant to 17 U.S.C. §411(b)(2), “the party seeking invalidation of the copyright must

first establish the preconditions to invalidity – (1) that the application contained a misstatement

of fact and (2) that the misrepresentation was knowingly included on the application.” Energy

Intelligence Group, 304 F.Supp. 3d at 1055-1056. This method “appropriately balances the

Copyright Office’s statutory right to weigh in on the materiality of a knowing misrepresentation

… against the district court’s inherent power to control its own docket and to prevent abuse in its

proceedings.” Id., at 1056.

       Further, the “plain language of the statute … requires the inaccurate information to be

‘included on the application … with knowledge that it was inaccurate.’” Energy Intelligence

Group, 304 F.Supp. 3d at 1063, quoting 17 U.S.C. §411(b). The intent requirement is “also

supported by the Register of Copyrights [which] create[d] a new procedure…that requires courts



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to seek the advice of the Copyright Office on issues that may involve fraud on the Copyright

Office.” Id., quoting U.S. Copyright Office, Annual Report of the Register of Copyrights, at 9

(2009); see also, McNeese v. Access Midstream Partners, L.P., CIV-14-503-D, 2017 WL

972156, at *6 (W.D. Okla. Mar. 10, 2017), citing 17 U.S.C. §411(b) (“Inaccuracies in a

certificate of registration ordinarily do not affect its validity unless (1) the inaccurate information

was included on the application for copyright registration with knowledge that it was inaccurate;

and (2) the inaccuracy of the information, if known, would have caused the Register of

Copyrights to refuse registration.”).

III.    PLAINTIFF DID NOT PROVIDE FALSE INFORMATION TO THE
        COPYRIGHT OFFICE

        A.     The TXu Application Contains the Correct Completion Date

        On June 24, 2018, Plaintiff submitted her TXu application for a copyright to the United

States Copyright Office, titled Ice Station Quellette. See Declaration of Cody R. LeJeune in

Support of Plaintiff’s Opposition to Defendants’ Motion For Referral of Registration Questions

Under 17 U.S.C. §411(b)(2) (“LeJeune Decl.”), Ex. A. Plaintiff filed the TXu application on her

own, without the assistance of an attorney. See Declaration of Lauren Adele Oliver in Support of

Plaintiff’s Opposition to Defendants’ Motion For Referral of Registration Questions Under 17

U.S.C. §411(b)(2) (“Oliver Decl.”), ¶2. Plaintiff filed the copyright application as an unpublished

collection of work and listed 2015 as the completion date. See Dkt. No. 236-1, at 2.

        After receiving the TXu application, the Copyright Office emailed Plaintiff on September

17, 2018 to inquire regarding the completion date. See LeJeune Decl., Ex. B, at 3. After several

back-and-forth emails with the Copyright Office, Plaintiff provided a timeline of events

concerning her collection, stating “I am so apologetic about the confusion.” Id. at 1. After

reviewing Plaintiff’s timeline of events, the Copyright Office guided Plaintiff that 2017 was the

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correct year of completion and asked for Plaintiff’s “authorization to correct the record to give

2017 as the year of completion so that we can proceed with the registration.” Id. Plaintiff

responded giving the Copyright Office authority to amend her application to make 2017 the

completion date. See LeJeune Decl., Ex. C, at 1. As confirmed by the public catalog on the

Copyright Office’s website, the TXu completion date is listed as 2017, based on the guidance

from the Copyright Office. See LeJeune Decl., Ex. D.

       Apparently turning a blind eye to the Copyright Office’s public catalog and the

documents detailed above that were produced in this litigation, Defendants claim that Plaintiff

provided an incorrect completion date in the TXu application. See Motion, at 4-5. Though

Plaintiff initially listed 2015 as the completion date for the unpublished collection, both the

Copyright Office’s public catalog and Plaintiff’s correspondence with the Copyright Office

clearly show that the completion date was changed to 2017 after Plaintiff received guidance from

the Copyright Office. Thus, the Copyright Office was aware that Plaintiff initially listed 2015 as

the completion date, extensively communicated with Plaintiff regarding the timeline of events

surrounding the application, and corrected the completion date to 2017. Accordingly, Plaintiff

correctly provided a completion date of 2017 to the Copyright Office for the TXu application.

       B.      Plaintiff Correctly Represented to the Copyright Office that her TXu
               Application was an Unpublished Collection

       Next, Defendants allege that Plaintiff misstated that the Ice Station Quellette was an

unpublished collection and that the Copyright Office would have refused registration if known.

Defendants’ argument is flawed for numerous reasons.

       First, Plaintiff provided a detailed timeline of events in email correspondence with the

Copyright Office on December 21, 2018. See LeJeune Decl., Ex. B, at 3. Plaintiff’s timeline is

set forth below:

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       Thus, the Copyright Office was aware that Plaintiff was presenting an unpublished

collection in her TXu application.

       Second, the Copyright Act requires that the unpublished collection consist of “essentially

all new collective works or all new issues that have not been published before.” Energy

Intelligence Group, 304 F.Supp. 3d at 1061, quoting 37 C.F.R. § 202.3(b)(9)(ii). Importantly,

however, “[t]his refers to the work as a whole, not the individual components within the

collective work or issue.” Id.

       Defendants claim that Plaintiff knowingly lied to the Copyright Office when she

represented that the collective works were not published. However, when Plaintiff filed the TXu

application, the collection – as a whole – had not been published. Thus, Plaintiff did not misstate

any facts and was in fact truthful to the Copyright Office when she stated that the collection had




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not been published. Accordingly, Plaintiff’s TXu application was truthful and did not misstate

any facts.

       C.      Plaintiff’s VA Application Does Not Contain Any Misstatements

       Defendants lastly claim that Plaintiff’s VA Registration contains a misstatement because

she did not design a bench shown in the exhibit. This argument from Defendants too falls flat for

numerous reasons.

       First, the Copyright Act does not protect a useful article, which is defined as “an article

having an intrinsic utilitarian function that is not merely to portray the appearance of the article

or to convey information.” Star Athletica, L.L.C. v. Varsity Brand, Inc., 137 S. Ct. 1002, 1008

(2017). And the design of a useful article can be protected only if that design “incorporates

pictorial, graphic, or sculptural features that can be identified separately from, and are capable of

existing independently of, the utilitarian aspects of the article.” Id. As seen from the pictures

depicting the bench, there are no design aspects that exist independently of the utilitarian aspects

of the bench. See Dkt. No. 236-3, at 6.

       Plaintiff’s statement that the bench was copyrighted in her deposition is a red herring.

Plaintiff is not a copyright attorney. As set forth above, the bench is not eligible for copyright

protection. In fact, Plaintiff did not have knowledge whether the bench was copyrighted. See

Oliver Decl. ¶3. Plaintiff simply meant that any sculptural design elements of the bench were

attributable to Katherine Lee. Id.

       Second, even if Plaintiff failed to identify the bench as a preexisting material, the

Compendium of Copyright law provides an exception that “when an applicant fails to identify

preexisting material…the examiner may still accept the application if the scope of the claim is

clearly identified by the deposit copies.” Energy Intelligence Group, 304 F.Supp. 3d at 1060.



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Here, Plaintiff provided the basis of claim as the photograph, 2-D artwork, sculpture and text.

See LeJeune Decl., Ex. E. Accordingly, Plaintiff never intended to deceive the Copyright Office

regarding the origin of the bench.

IV.    PLAINTIFF DID NOT INTEND TO DECEIVE OR DEFRAUD THE
       COPYRIGHT OFFICE

       Plaintiff did not misstate any facts to the Copyright Office. Further, Plaintiff certainly did

not knowingly misstate anything in her copyright applications. The 2nd prong of the test under 17

U.S.C. §411(b)(2) requires that any misstatement of fact be made knowingly. Energy

Intelligence Group, 304 F.Supp. 3d at 1055. In fact, Defendants must show that Plaintiff

“intended to defraud the Copyright Office.” Id at 1063. The Court in Energy Intelligence

reiterated that this requirement “is supported by the plain language of the statute, which requires

the inaccurate information to be ‘included on the application…with knowledge that it was

inaccurate.”’ Id, quoting 17 U.S.C. §411(b). Further, Energy Intelligence explains that the

requirement is “also supported by the Register of Copyrights [which] create[d] a new

procedure…that requires courts to seek the advice of the Copyright Office on issues that my

involve fraud on the Copyright Office.” Id., quoting U.S. Copyright Office, Annual Report of the

Register of Copyrights, at 9 (2009).

       As shown in Plaintiff’s email correspondence with the Copyright Office, Plaintiff was

extremely forthcoming and provided the Copyright Office with a detailed timeline of events

surrounding her collection. See LeJeune Decl., Ex. A-C; Oliver Decl., ¶4-5. In fact, the

Copyright Office was aware of all dates associated with the TXu application based on the

timeline provided by Plaintiff. Id. This included both the completion dates and the publication

dates for the TXu application. Further, Plaintiff took the advice of the Copyright Office when she

confirmed that the completion date for the TXu application was 2017.

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        As set forth above, the only “discrepancy” set forth by Defendants regarding the VA

application is that it included photographs of a bench, which cannot receive copyright protection.

Regardless, Plaintiff also did not intend to defraud the Copyright Office in her VA application.

Plaintiff provided the basis of claim as the photograph, 2-D artwork, sculpture and text. See

LeJeune Decl., Ex. E. Indeed, as Defendants’ Motion states, Plaintiff testified during her

deposition that “I didn’t realize I did that, and I think that was probably a slip.” Motion, at 8. In

other words, Plaintiff did not knowingly provide the bench to the Copyright Office, but instead

included the bench unknowingly and accidentally. Oliver Decl., ¶3-5. Accordingly, Plaintiff

never intended to deceive the Copyright Office regarding the origin of the bench

V.      CONCLUSION

     For the reasons stated herein, the Court should summarily deny Defendants’ Motion.


Dated: November 18, 2021                               LEJEUNE LAW, PC

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                                CERTIFICATE OF SERVICE

       I hereby certify that I caused a true and correct copy of the foregoing filing to be filed

through the Court’s CM/ECF system which caused all parties and counsel entitled to receive notice

to be served electronically as more fully described on the Notice of Electronic Filing.


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